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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     SCOTT JOHNSON,                                       Case No. 21-cv-03839-SVK
                                   8                     Plaintiff,
                                                                                              ORDER TO SHOW CAUSE RE
                                   9                v.                                        SETTLEMENT
                                  10     VRSV ONE INC,                                        Re: Dkt. No. 17
                                  11                     Defendant.

                                  12
Northern District of California
 United States District Court




                                  13           Plaintiff reports that this case has settled. All previously-scheduled deadlines and appearances

                                  14   are vacated.

                                  15           By November 16, 2021, the parties shall file a stipulation of dismissal. If a dismissal is not

                                  16   filed by the specified date, then the parties shall appear on November 23, 2021 at 1:30 p.m. and show

                                  17   cause, if any, why the case should not be dismissed. Additionally, the parties shall file a statement in

                                  18   response to this Order no later than November 16, 2021, describing with specificity (1) the parties’

                                  19   efforts to finalize settlement within the time provided, and (2) whether additional time is necessary, the

                                  20   reasons therefor, and the minimum amount of time required to finalize the settlement and file the

                                       dismissal.
                                  21
                                               If a dismissal is filed as ordered, the Order to Show Cause hearing will be automatically
                                  22
                                       vacated and the parties need not file a statement in response to this Order.
                                  23
                                               SO ORDERED.
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                                       Dated: October 12, 2021
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                                                                                                       SUSAN VAN KEULEN
                                  28                                                                   United States Magistrate Judge
